
194 Cal.App.2d 772 (1961)
THE PEOPLE, Respondent,
v.
GORDON WEST, Appellant.
Crim. No. 3170. 
California Court of Appeals. Third Dist.  
Aug. 16, 1961.
 Alfred B. McKenzie, under appointment by the District Court of Appeal, for Appellant.
 Stanley Mosk, Attorney General, and Doris H. Maier, Assistant Attorney General, for Respondent.
 VAN DYKE, P. J.
 This is an appeal from the judgment entered upon the jury's verdict which found appellant guilty of a sale of heroin in violation of section 11501 of the Health and Safety Code and from an order denying a new trial.
 Upon appellant's request for counsel this court appointed Alfred B. McKenzie, Esquire, to represent him. Mr. McKenzie *773 advised the court that he has concluded that the appeal is wholly without merit. After an independent review of the record we have reached the same conclusion.
 [1] Although appellant denied his guilt, an informer testified that appellant made the sale of the heroin which was introduced in evidence. The jury was fully and correctly instructed and there were no errors of law.
 The judgment and the order are affirmed.
 Peek, J., and Warne, J., pro tem.,  [fn. *] concurred.
NOTES
[fn. *]  *. Assigned by Chairman of Judicial Council.

